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11    the Proposed Class
12    [Additional Counsel on Signature Page]
13
                                  UNITED STATES DISTRICT COURT
14
                                 CENTRAL DISTRICT OF CALIFORNIA
15
                                          WESTERN DIVISION
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      BARRY BRAVERMAN, et al.,                          No. 8:16-cv-00966-TJH-SS
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                                    Plaintiffs,          ORDER GRANTING
18                                                       PLAINTIFFS’ APPLICATION TO
               vs.                                       FILE UNDER SEAL [162]
19
      BMW OF NORTH AMERICA, LLC,
20    et al.,
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                                       Defendants.
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                             ORDER GRANTING PLFS’ APPLICATION TO FILE UNDER SEAL
      010616-11/1187308 V1
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                The Court, having considered Plaintiffs’ Application to File Under Seal, in
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       addition to the declaration of Barbara A. Mahoney submitted to support that
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       application, and good cause appearing therefore, hereby orders that:
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                Plaintiffs’ Application to File Under Seal is GRANTED. The following
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       unredacted documents shall be filed under seal pursuant to Local Rule 79-5 and the
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       Stipulated Protective Order entered in this case on October 18, 2017 (Dkt. No. 77):
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                1.       Plaintiffs’ Reply in Support of Motion for Class Certification;
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                2.       Exhibits 1-3, 14-17, and 19-20 to the Declaration of Steve W. Berman
   9
                         in Support of Plaintiffs’ Reply in Support of Motion for Class
  10
                         Certification;
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                3.       Plaintiffs’ Notice of Motion and Motion to Exclude the Opinions of
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                         Defendants’ Proposed Expert, Dr. Jonathan Hibbard;
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                4.       Plaintiffs’ Opposition to Defendants’ Motion to Exclude the Opinions
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                         of Plaintiffs’ Proposed Expert, Steven P. Gaskin; and
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                5.        Plaintiffs’ Opposition to Defendants’ Motion to Exclude the Opinions
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                         of Plaintiffs’ Proposed Expert, Colin B. Weir.
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       IT IS SO ORDERED.
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       Dated: September 20, 2019                   _________________________
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  22                                               TERRY J. HATTER, JR.
                                                   UNITED STATES DISTRICT JUDGE
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                              ORDER GRANTING PLFS’ APPLICATION TO FILE UNDER SEAL
       010616-11/1187308 V1
